                                            Case 4:16-mc-80206-KAW Document 45 Filed 11/22/17 Page 1 of 1




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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

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                                   7                                                        Case No. 16-mc-80206-KAW
                                   8       IN RE PETITION OF JENNIFER
                                           GRANICK AND RIANA PFEFFERKORN                    ORDER GRANTING
                                   9                                                        ADMINISTRATIVE MOTION TO FILE
                                                                                            EXHIBITS; CONTINUING STATUS
                                  10                                                        CONFERENCE
                                  11                                                        Re: Dkt. No. 44
                                  12
Northern District of California
 United States District Court




                                               On November 8, 2017, Petitioners Jennifer Granick and Riana Pfefferkorn filed an
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                                       administrative motion to supplement a joint status report with two additional documents. (Dkt.
                                  14
                                       No. 44.) Petitioners stated that they had contacted the Government for a stipulation to adding the
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                                       two documents; while the Government had no objection to the two additional documents, they
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                                       would not stipulate to the motion nor did they agree with the language used by Petitioners to
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                                       describe the materials. (Id. at 3.) The Government did not file an opposition. Because the
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                                       Government does not oppose the two documents, the Court GRANTS Petitioners' motion.1
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                                               Additionally, the Court requires more time to review the new documents and to prepare for
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                                       the status conference. Accordingly, the status conference currently set for December 7, 2017 is
                                  21
                                       continued to March 13, 2018 at 1:30 p.m.
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                                               IT IS SO ORDERED.
                                  23
                                       Dated: November 22, 2017
                                  24                                                         __________________________________
                                  25                                                         KANDIS A. WESTMORE
                                                                                             United States Magistrate Judge
                                  26
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                                  28    In the future, the Court expects the parties to be able to stipulate to such matters when there are
                                       no substantive objections.
